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 5
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 6   MIGUEL HERNANDEZ
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MIGUEL HERNANDEZ,                         Case No.:
11
                  Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR DENIAL
           vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                             PERSON IN VIOLATIONS OF
14                                             1. AMERICANS WITH DISABILITIES
     PRIDE AUTO WRECKING AND                   ACT, 42 U.S.C. §12131 et seq.;
15
     SALES, INC.; ARMEN YANIKYAN, AS           2. CALIFORNIA’S UNRUH CIVIL
16                                             RIGHTS ACT;
     TRUSTEE OF THE ARMEN
17   YANIKYAN LIVING TRUST; and DOES           3. CALIFORNIA’S DISABLED
     1 to 10,                                  PERSONS ACT;
18
                  Defendants.                  4. CALIFORNIA HEALTH & SAFETY
19                                             CODE;
20                                             5. NEGLIGENCE
21
22
23
24
25
           Plaintiff MIGUEL HERNANDEZ (“Plaintiff”) complains of Defendants PRIDE
26
     AUTO WRECKING AND SALES, INC.; ARMEN YANIKYAN, AS TRUSTEE OF
27
     THE ARMEN YANIKYAN LIVING TRUST; and DOES 1 to 10 (“Defendants”) and
28
     alleges as follows:


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 1                                             PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from paraplegia, chronic pain with hypertension secondary to the injury and lumbar
 4   strain, and is substantially limited in his ability to walk. Plaintiff requires the use of a
 5   wheelchair at all times when traveling in public.
 6            2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for an auto parts store
 8   (“Business”) located at or about 12300 Branford St., Sun Valley, California.
 9            3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21            5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.).



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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about January of 2024, Plaintiff went to the Business.
11         11.    The Business is an auto parts store business establishment, open to the
12   public, and is a place of public accommodation that affects commerce through its
13   operation. Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to post required signage such as “Van Accessible,” “Minimum
22                       Fine $250” and “Unauthorized Parking.”
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to provide proper van accessible space designated for the
26                       persons with disabilities as there was no access aisle for wheelchair
27                       drop-off.
28




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 1                c.     Defendants failed to comply with the federal and state standards for
 2                       the parking space designated for persons with disabilities. Defendants
 3                       failed to paint the ground as required.
 4                d.     Defendants failed to comply with the federal and state standards for
 5                       the parking space designated for persons with disabilities. Defendants
 6                       failed to mark the space with the International Symbol of
 7                       Accessibility.
 8         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 9   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
10   patronize the Business; however, Plaintiff is deterred from visiting the Business because
11   his knowledge of these violations prevents him from returning until the barriers are
12   removed.
13         15.    Based on the violations, Plaintiff alleges, on information and belief, that
14   there are additional barriers to accessibility at the Business after further site inspection.
15   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
16   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
17         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
18   knew that particular barriers render the Business inaccessible, violate state and federal
19   law, and interfere with access for the physically disabled.
20         17.    At all relevant times, Defendants had and still have control and dominion
21   over the conditions at this location and had and still have the financial resources to
22   remove these barriers without much difficulty or expenses to make the Business
23   accessible to the physically disabled in compliance with ADDAG and Title 24
24   regulations. Defendants have not removed such barriers and have not modified the
25   Business to conform to accessibility regulations.
26   //
27   //
28   //



                                            COMPLAINT - 4
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 1                                    FIRST CAUSE OF ACTION
 2          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         18.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         20.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



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 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered area
14                       are not disproportionate to the overall alterations in terms of cost and
15                       scope. 42 U.S.C. § 12183(a)(2).
16         21.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
22         22.    Under the ADA, the method and color of marking are to be addressed by
23   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24   Building Code (“CBC”), the parking space identification signs shall include the
25   International Symbol of Accessibility. Parking identification signs shall be reflectorized
26   with a minimum area of 70 square inches. Additional language or an additional sign
27   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28   parking space identification sign shall be permanently posted immediately adjacent and



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 1   visible from each parking space, shall be located with its centerline a maximum of 12
 2   inches from the centerline of the parking space and may be posted on a wall at the
 3   interior end of the parking space. See CBC § 11B-502.6, et seq.
 4         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5   each entrance to an off-street parking facility or immediately adjacent to on-site
 6   accessible parking and visible from each parking space. The additional sign shall not be
 7   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9   designated accessible spaces not displaying distinguishing placards or special license
10   plates issued for persons with disabilities will be towed always at the owner’s expense…”
11   See CBC § 11B-502.8, et seq.
12         24.    Here, Defendants failed to provide the signs stating, “Minimum Fine $250”
13   and “Van Accessible.” Moreover, Defendants failed to provide the additional sign with
14   the specific language stating “Unauthorized vehicles parked in designated accessible
15   spaces not displaying distinguishing placards or special license plates issued for persons
16   with disabilities will be towed always at the owner’s expense…”
17         25.    For the parking spaces, access aisles shall be marked with a blue painted
18   borderline around their perimeter. The area within the blue borderlines shall be marked
19   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
20   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
21   be painted on the surface within each access aisle in white letters a minimum of 12 inches
22   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
23   11B-502.3.3.
24         26.    Here, Defendants failed to provide a proper access aisle as there were no
25   “NO PARKING” markings and blue hatched lines painted on the parking surface.
26   Moreover, Defendants failed to provide the access aisle with the minimum width of 96
27   inches.
28




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 1         27.      The surface of each accessible car and van space shall have surface
 2   identification complying with either of the following options: The outline of a profile
 3   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
 4   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 5   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 6   length of the parking space and its lower side or corner aligned with the end of the
 7   parking space length or by outlining or painting the parking space in blue and outlining
 8   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 9   occupant. See CBC § 11B-502.6.4, et seq.
10         28.      Here, Defendants failed to paint the International Symbol of Accessibility on
11   the surface as required.
12         29.      A public accommodation shall maintain in operable working condition those
13   features of facilities and equipment that are required to be readily accessible to and usable
14   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
15         30.      By failing to maintain the facility to be readily accessible and usable by
16   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
17   regulations.
18         31.      The Business has denied and continues to deny full and equal access to
19   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
20   discriminated against due to the lack of accessible facilities, and therefore, seeks
21   injunctive relief to alter facilities to make such facilities readily accessible to and usable
22   by individuals with disabilities.
23                                 SECOND CAUSE OF ACTION
24                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
25         32.      Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
28   state are free and equal, and no matter what their sex, race, color, religion, ancestry,



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 1   national origin, disability, medical condition, genetic information, marital status, sexual
 2   orientation, citizenship, primary language, or immigration status are entitled to the full
 3   and equal accommodations, advantages, facilities, privileges, or services in all business
 4   establishments of every kind whatsoever.”
 5         34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 6   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 7   for each and every offense for the actual damages, and any amount that may be
 8   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 9   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
10   attorney’s fees that may be determined by the court in addition thereto, suffered by any
11   person denied the rights provided in Section 51, 51.5, or 51.6.
12         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
13   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
14   shall also constitute a violation of this section.”
15         36.    The actions and omissions of Defendants alleged herein constitute a denial
16   of full and equal accommodation, advantages, facilities, privileges, or services by
17   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
18   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
19   51 and 52.
20         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
21   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
22   damages as specified in California Civil Code §55.56(a)-(c).
23                                  THIRD CAUSE OF ACTION
24                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
25         38.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
28   entitled to full and equal access, as other members of the general public, to



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 1   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 2   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 3   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 4   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 5   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 6   places of public accommodations, amusement, or resort, and other places in which the
 7   general public is invited, subject only to the conditions and limitations established by
 8   law, or state or federal regulation, and applicable alike to all persons.
 9         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
10   corporation who denies or interferes with admittance to or enjoyment of public facilities
11   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
12   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
13   the actual damages, and any amount as may be determined by a jury, or a court sitting
14   without a jury, up to a maximum of three times the amount of actual damages but in no
15   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
16   determined by the court in addition thereto, suffered by any person denied the rights
17   provided in Section 54, 54.1, and 54.2.
18         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
19   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
20   constitute a violation of this section, and nothing in this section shall be construed to limit
21   the access of any person in violation of that act.
22         42.    The actions and omissions of Defendants alleged herein constitute a denial
23   of full and equal accommodation, advantages, and facilities by physically disabled
24   persons within the meaning of California Civil Code § 54. Defendants have
25   discriminated against Plaintiff in violation of California Civil Code § 54.
26         43.    The violations of the California Disabled Persons Act caused Plaintiff to
27   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
28   statutory damages as specified in California Civil Code §55.56(a)-(c).



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 1                                FOURTH CAUSE OF ACTION
 2                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 3         44.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         45.    Plaintiff and other similar physically disabled persons who require the use of
 6   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 7   such facility is in compliance with the provisions of California Health & Safety Code §
 8   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 9   provisions of California Health & Safety Code § 19955 et seq.
10         46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
11   that public accommodations or facilities constructed in this state with private funds
12   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
13   Title 1 of the Government Code. The code relating to such public accommodations also
14   require that “when sanitary facilities are made available for the public, clients, or
15   employees in these stations, centers, or buildings, they shall be made available for
16   persons with disabilities.
17         47.    Title II of the ADA holds as a “general rule” that no individual shall be
18   discriminated against on the basis of disability in the full and equal enjoyment of goods
19   (or use), services, facilities, privileges, and accommodations offered by any person who
20   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
21   Further, each and every violation of the ADA also constitutes a separate and distinct
22   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
23   award of damages and injunctive relief pursuant to California law, including but not
24   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
25                                   FIFTH CAUSE OF ACTION
26                                         NEGLIGENCE
27         48.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4          50.    Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11          1.     For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13          2.     Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15          3.     Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20          6.     Such other and further relief as the Court deems just and proper.
21                               DEMAND FOR TRIAL BY JURY
22          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23   demands a trial by jury on all issues so triable.
24
25   Dated: April 26, 2024                   SO. CAL. EQUAL ACCESS GROUP
26
27                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
28                                                  Attorneys for Plaintiff



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